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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    CHRIS LANGER,                                       Case No.: 20cv1478 MMA (BGS)
12                                       Plaintiff,
                                                          ORDER REGARDING NOTICE OF
13    v.                                                  SETTLEMENT
14    IMPERIAL MARKET INVESTORS,
      LLC and AUTOZONE WEST, LLC.                         [ECF 11]
15
                                     Defendants.
16
17
18         On October 16, 2020, Plaintiff Chris Langer filed a Notice of Settlement
19   requesting all deadlines be vacated based on the parties reaching a settlement. (ECF 11.)
20   It is not joint and does not include the electronic signature of counsel for Defendants.
21         The Court’s Order setting the upcoming Early Neutral Evaluation for November 6,
22   2020 explains what is required to vacate the upcoming ENE. (ECF 10 ¶ 9.) “If the
23   parties settle more than 24 hours before the conference but are not able to file a Joint
24   Motion to Dismiss, they must file a Joint Notice of Settlement containing the electronic
25   signatures of counsel for all settling parties and must also identify a date by which the
26   Joint Motion to Dismiss will be filed.” (Id. (emphasis added).)
27         Accordingly, the parties must file a Joint Notice of Settlement containing the
28   electronic signatures of counsel for all settling parties that indicates when a Joint Motion

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                                                                                20cv1478 MMA (BGS)
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 1   to Dismiss will be filed. The Joint Notice of Settlement must be filed by October 22,
 2   2020.
 3           IT IS SO ORDERED.
 4   Dated: October 20, 2020
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